           Case 18-31722             Doc 120   Filed 11/14/18 Entered 11/14/18 10:05:57                                        Desc Main
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           ATTENTION: ADDRESS CORRECTION REQUESTED
      If you are receiving this notice, U.S. Postal Service records indicate that the address that the debtor listed
      is subject to a forwarding order. Forwarding orders are only good for a limited time.

    IF YOU ARE THE INTENDED NOTICE RECIPIENT,                          IF YOU ARE THE DEBTOR/DEBTOR'S COUNSEL
    Update your address immediately with the                           1. Find an updated address and send the attached
    Bankruptcy Court identified on the notice pur1su~t~                    document to that address.
    the Court's local procedures.             tD\:3 \ \                2. Update the address with the Bankruptcy Court
                                                                           pursuant to the Court's local procedures.
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